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     HOPE SOLO
 9
                                  UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
12 HOPE SOLO,                                            Case No.:
13                                                       COMPLAINT FOR VIOLATION OF THE
                           Plaintiff,                    EQUAL PAY ACT AND
14                                                       DISCRIMINATION
            v.
15                                                       DEMAND FOR JURY TRIAL
     UNITED STATES SOCCER FEDERATION,
16
                           Defendants.
17
18                                               PARTIES
19
            1.      Plaintiff Hope Solo is an individual, and a resident of North Carolina.
20
            2.      Defendant United States Soccer Federation (“the Federation”), is a not-for-profit
21
     corporation chartered in the State of New York that employs individuals that are selected as
22
     soccer players on the United States Women’s National Soccer Team (“WNT”).
23
            3.      Plaintiff is informed and believes, and thereon alleges, that, at all times
24
     mentioned herein, each of the defendants sued herein, was the agent, servant, and employee of
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     the remaining defendants, and in doing the things hereinafter alleged, was acting within the
26
     scope of its authority as such agent, servant, and employee, and with the permission and consent
27
     of the remaining defendants.
28

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 1                                     JURISDICTION AND VENUE
 2          4.      This Court has jurisdiction over this controversy under 28 U.S.C. § 1331 by
 3   virtue of the fact that this is a civil action wherein the matter involves the application and
 4   interpretation of federal laws. Further, jurisdiction is proper under 28 U.S.C. § 1332 by virtue
 5   of the fact that the matter in controversy exceeds $75,000, and is between citizens of different
 6   states. Venue is properly laid in this District because the actions and activities which generated
 7   and are the subject of this Complaint, occurred in part within this District. Further, the
 8   defendants do substantial business in this District, and have a principal place of business in
 9   Chicago, Illinois.
10                                      GENERAL ALLEGATIONS
11          5. For the time periods during which the violations alleged herein occurred, Plaintiff
12               was an employee of defendant, the United States Soccer Federation, since she was
                 selected as a soccer player on the United States Women’s National Soccer Team
13
                 (“WNT”). At all times relevant to the charges of violations of the Equal Pay Act
14
                 and discrimination, the Federation also employed and continues to employ
15
                 individuals selected as soccer players on the United States Men’s National Soccer
16               Team (“MNT”).
17
18          6. The WNT has enjoyed unparalleled success in international soccer, winning three (3)

19               World Cup titles and four (4) Olympic Gold Medals – an accomplishment that no
                 other country on the men’s or women’s side has reached in World Cup or Olympic
20
                 competition.       The WNT also has achieved numerous other first place wins in
21
                 significant international tournaments and at all times relevant herein, was ranked
22               number one (1) in the world, a position it held on a near continuous basis for at least
23               seven (7) years.
24
25          7.   Plaintiff’s team won its third World Cup title on July 5, 2015. The game captured
                 the hearts of approximately 23 million viewers, making it the most watched soccer
26
                 game in American TV history. The team embarked on a post-Cup Victory Tour,
27
                 which drew tens of thousands of fans to soccer stadiums across the United States and
28
                 generated and deposited tens of millions of dollars into the Federation’s coffers.
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 1
 2      8. In fact, according to the Federation’s 2016 annual report (see Exhibit 1, p. 54, Chart
              1), it initially projected a combined net loss for the national teams of $429,929 for
 3
              FY 2016 (April 1, 2015 – March 31, 2016). But thanks almost exclusively to the
 4
              success of the WNT, the Federation projected a $17.7 million profit in connection
 5
              with the success of the WNT teams. Id. Additionally, for FY 2017, the Federation
 6            projected a net profit from the WNT of approximately $5,000,000, while projecting a
 7            net loss of nearly $1,000,000 for the MNT. Id. at 57-58, Charts 2, 3.
 8

 9      9.       Unfortunately, the WNT’s on-field accomplishments and revenue generation
              have not resulted in plaintiff or her fellow players earning equal or better pay than
10
              MNT players. In fact, the women’s compensation pales in comparison to that of the
11
              MNT players. This pay disparity exists despite the fact that, as the MNT and WNT’s
12            employer, the Federation is bound by federal law to compensate Plaintiff and her
13            WNT teammates at least equally to the rate at which it compensates MNT players
14            given that the women and men perform the same job duties; have jobs that require

15            equal skill, effort and responsibilities; and perform their respective jobs under similar
              working conditions.
16
17
        10.      More specifically, the pre-match, match and post-match duties, as well as the
18
              skill, effort, responsibilities and working conditions of WNT players are
19            substantially the same and/or greater than those of MNT players. The Federation, for
20            example, expects both sets of players to:

21
                          i. maintain their conditioning and overall health such as by undergoing
22
                             rigorous training routines (endurance running, weight training, etc.)
23
                             and adhering to certain nutrition, physical therapy and other regimens.
24
25                       ii. maintain their skills by, for example, attending training camps and
26                           frequent practices, participating in skills drills, and playing
27                           scrimmages and other practice events;

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 1                      iii. travel nationally and internationally as necessary for competitive
 2                             games, which are the same in length, physical and mental demand,
                               and similar playing environment and conditions; and
 3
 4
                        iv. promote a positive image for soccer through media and other
 5
                               appearances.
 6
 7            The success of the WNT, however, has meant and continues to mean that the WNT
 8            spends more time in training camp, play far more games, travel more, and participate

 9            in more media sessions, among other things, than MNT players.

10
        11. Despite all of these facts, plaintiff and similarly situated WNT players, have been
11
              paid and continue to be paid substantially less than MNT players.
12
13      12. The Federation’s compensation structure for the WNT and MNT generally can be
14            divided into four buckets: (1) compensation for games called Friendlies; (2) World-

15            Cup-related compensation; (3) Olympics-related compensation and (4) compensation
              for sponsor appearances, ticket revenue and other monies.
16
17
        13.      Friendlies:    For the time periods during which the violations alleged herein
18
              occurred, the Federation paid top tier WNT players between 38% and 72% of the
19            compensation the MNT players earn on a per game basis.
20
21      14.      Specifically, the Federation paid Plaintiff and other top tier WNT players,
              $72,000 per year to play a minimum of 20 Friendlies that year. Plaintiff and her
22
              WNT teammates also received a bonus of $1,350 for each Friendly victory.
23
              However, unlike the MNT, Plaintiff and her WNT teammates did not receive
24
              additional compensation if the WNT lost or played to a tie in a game). So, if the
25            WNT lost all 20 games, Plaintiff and each of her WNT teammates received $72,000
26            for the year or only $3,600 per game; if the WNT won all twenty games, Plaintiff
27            and her WNT teammates each received $99,000 for that year or $4,950 per game.

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 1       15.       MNT players are also required to play a minimum of 20 Friendlies per year.
 2             They, however, receive a minimum of $5,000 to play in each game, regardless of the
               outcome. They can receive compensation ranging from $6,250 to $17,625 per game
 3
               depending on the level of their opponent (FIFA-ranked 1-10, FIFA-ranked 11-25, or
 4
               FIFA-ranked above 25) and whether they tie or win the game. So, if a MNT player
 5
               loses all 20 Friendlies, he will earn $100,000 -- $27,000 more than similarly situated
 6             WNT players and $1,000 more than WNT players who win all of their games. If
 7             MNT players win all of their games against the various levels of competition they
 8             likely would face, they likely would earn an average of $13,166 per game or

 9             $263,320 in year. A 20-game winning top tier WNT player would earn 38% of the
               compensation of a similarly situated MNT player. The attached chart (see Exhibit 2)
10
               illustrates these differences.
11
12       16. These numbers present an even starker contrast when considering that each game
13             over 20 played by a WNT player earns that player either no additional compensation
14             (for a tie or a loss) or maximum compensation of $1,350. Each additional game over

15             20 played by a MNT player earns that player between $5,000 (for a loss) or up to
               $17,625 for a win.
16
17
         17. World Cup. The compensation afforded WNT players for World Cup competition is
18
               even more strikingly disparate than that for the Friendlies. WNT players earn only
19             $30,000 total both for being asked to try out for the World Cup team and for making
20             the team roster. MNT players, on the other hand, earn $68,750 each for making their

21             team’s roster. The pay structure for advancement through the rounds of World Cup
               was so skewed that, in 2014, the MNT earned $9,000,000 for losing in the Round of
22
               16, while the WNT earned only $2,000,000 for winning the World Cup tournament.
23
               In other words, the women earned four times less than the men while performing
24
               demonstrably better.
25
26       18. Olympics.       Notably, the WNT and MNT U23 players each earn $15,000 for
27             qualifying for the Olympic team and another $15,000 each for making the roster.

28             The Federation’s decision to pay the U 23 men, who are the MNT B Team, and
          women equal compensation for Olympic play only highlights the unjustified and
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 1            discriminatory animus underlying its decision to pay women differently than men in
 2            nearly all other respects.

 3
        19. Other Compensation. The disparity in pay trickles down to nearly every aspect of
 4
              the WNT player/Federation employment relationship. For the time periods during
 5
              which the violations alleged herein occurred, the Federation, for example, paid men
 6            on the MNT a per diem of $62.50 for domestic venues and $75 for international
 7            venues, while paying the women on the WNT $50 and $60, respectively, even
 8            though the WNT are traveled for the same reasons. Further, the Federation paid men

 9            on the MNT $3,750 for each sponsor appearance, while paying the women on the
              WNT $3,000 per appearance to do the exact same work. The list of pay disparities
10
              goes on and on.
11
12      20. There are no legitimate, non-discriminatory reasons for this gross disparity of wages,
13            nor can it be explained away by any bona fide seniority, merit or incentive system or
14            any other factor other than sex.

15
        21. Therefore, plaintiff alleges and believes that she and similarly situated former and
16
              current WNT players have been discriminated against because of sex (female) in
17
              violation of the Title VII of the Civil Rights Act of 1964, as amended, and the Equal
18
              Pay Act.
19
20               WHEREFORE, plaintiff prays for judgment as set forth below.
21
22                    EXHAUSTION OF ADMINISTRATIVE REMEDIES
23      22.      Plaintiff filed a charge with the Equal Employment Opportunity Commission
24            (“EEOC”) on March 30, 2016. The EEOC has not yet issued a right to sue letter.
25                                   FIRST CAUSE OF ACTION
26                                   Violation of the Equal Pay Act
                                         (29 U.S.C § 206(d))
27
        23. Plaintiff realleges and incorporates herein by reference each and every allegation
28

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 1                   contained in paragraphs 1 through 22, with the same force and effect as if fully
 2                   realleged and recited herein at length.
 3
 4             24.      The Federation has discriminated and continues to discriminate against Plaintiff
 5   and similarly situated WNT players in violation of the Equal Pay Act (“EPA”) by paying its
 6   female WNT employees at wage rates less than the wage rates paid to its male MNT employees
 7   for substantially equal or similar work, when viewed as a composite of skill, effort, and
 8   responsibility, and performed under similar working conditions.
 9
10             25.      The Federation’s failure to pay the women on the WNT and men on the MNT

11   equal wages for performing substantially equal or similar work is not justified by any lawful
12   reason.
13
               26.      The Federation has willfully violated the EPA by intentionally, knowingly,
14
     and/or deliberately paying women on the WNT less than men on the MNT for substantially
15
     equal or similar work.
16
                27.      As a result of the Federation’s ongoing conduct, violation of the EPA, and/or
17
     willful discrimination, Plaintiff and similarly situated former and current WNT members have
18
     suffered and will continue to suffer harm, including but not limited to lost earnings, lost
19
     benefits, and other financial loss, as well as non-economic damages.
20
                28.      Plaintiff and similarly situated former and current women on the WNT are
21
     therefore entitled to all legal and equitable remedies available under law, including wages,
22
     interest, and liquidated damages.
23
24
                WHEREFORE, Plaintiff prays for judgment as set forth below.
25
                                         SECOND CAUSE OF ACTION
26
                                             Sex Status Discrimination
27
                                       ( Title VII, 42 U.S.C. § 2000e, et seq.)
28

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 1          29.     Plaintiff realleges and incorporates herein by reference each and every allegation
 2   contained in paragraphs 1 through 28, with the same force and effect as if fully realleged and
 3   recited herein at length.
 4          30.     The Federation has discriminated and continues to discriminate against Plaintiff
 5   in violation of the Title VII, 42 U.S.C. § 2000e, et seq. (“Title VII”)) by paying its female WNT
 6   employees at wage rates less than the wage rates paid to its male MNT employees for
 7   substantially equal or similar work, when viewed as a composite of skill, effort, and
 8   responsibility, and performed under similar working conditions.
 9          31.     The Federation’s failure to pay women on the WNT and men on the MNT equal
10   wages for performing substantially equal or similar work is not justified by any lawful reason.
11
            32.     The Federation has willfully violated the Title VII by intentionally, knowingly,
12
     and/or deliberately paying women on the WNT less than men on the MNT for substantially
13
     equal or similar work.
14
              33.    As a result of the Federation’s ongoing conduct, violation of Title VII, and/or
15
     willful discrimination, Plaintiff and similarly situated former and current WNT members have
16
     suffered and will continue to suffer harm, including but not limited to lost earnings, lost
17
     benefits, and other financial loss, as well as non-economic damages.
18
              34.    Plaintiff and similarly situated former and current WNT members are therefore
19
     entitled to all legal and equitable remedies available under law, including wages, interest, and
20
     liquidated damages.
21
            WHEREFORE, Plaintiff prays for judgment as set forth below.
22
                                                 PRAYER
23
            WHEREFORE, Plaintiff prays judgment against defendants as follows:
24
            1.      For compensatory damages in an amount to be proven at trial;
25
            2.      For general and special damages in an amount to be proven at trial;
26
            3.      For punitive damages, according to proof;
27
            4.      For liquidated damages, according to proof;
28

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 1         5.    For costs of suit, including reasonable attorney’s fees; and
 2         6.    For such other relief as the court may deem just and proper.
 3
 4   DATED: August 24, 2018
 5                                             _
 6
 7                                             By /S/
                                                  TIMOTHY W. MOPPIN, ESQ.
 8                                                Attorneys for Plaintiff
                                                  HOPE SOLO
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